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16   MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
17   [Counsel for Apple appears on next page]
18                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
19                            SOUTHERN DIVISION
20   MASIMO CORPORATION,                        ) Case No. 8:20-cv-00048-JVS-JDE
     a Delaware corporation; and                )
21   CERCACOR LABORATORIES, INC.,               ) JOINT STIPULATION FOR
     a Delaware corporation                     ) LEAVE TO FILE JOINT ADMITTED
22                                              )
                  Plaintiffs,                   ) EXHIBIT LIST FOR NOVEMBER
23                                              ) 2024 TRIAL
            v.                                  )
24                                              )
     APPLE INC., a California corporation       ) Hon. James V. Selna
25                                              )
                  Defendant.                    )
26                                              )
                                                )
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                                    #:193065



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                                    #:193066



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1          Pursuant to this Court’s email of November 15, 2024 and Local Rule 16-6,
2    Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc. and Defendant Apple
3    Inc. request leave to file their Joint Admitted Exhibit List for the November 2024 Trial
4    (“Joint Admitted Exhibit List”), hereby submitted as Attachment A.
5          The Joint Admitted Exhibit List includes all exhibits admitted at the November
6    2024 trial, including exhibits referenced in the direct testimony declarations and
7    deposition designations and not subject to sustained objection, admitted through cross-
8    examination and redirect, and admitted via judicial notice.
9          The Joint Admitted Exhibit List includes a far-right column setting forth when the
10   Court formally admitted each exhibit into evidence.
11
12                                            Respectfully submitted,
13                                            KNOBBE, MARTENS, OLSON & BEAR, LLP
14
15   Dated: November 18, 2024                 By: /s/ Kendall M. Loebbaka
                                                   Joseph R. Re
16                                                 Stephen C. Jensen
                                                   Sheila N. Swaroop
17                                                 Brian C. Horne
                                                   Brian C. Claassen
18                                                 Jared C. Bunker
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19                                                 Adam B. Powell
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20                                                 Daniel P. Hughes
21                                                   Attorneys for Plaintiffs
                                                     MASIMO CORPORATION and
22                                                   CERCACOR LABORATORIES, INC.
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                                      DORR LLP
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3    Dated: November 18, 2024            By: /s/ Nora Passamaneck
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4                                               Thomas G. Sprankling
                                                Joshua H. Lerner
5                                               Amy K. Wigmore
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6                                               Sarah R. Frazier
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7                                               Brian A. Rosenthal
                                                Kenneth G. Parker
8
                                                 Attorneys for Defendant
9                                                APPLE INC.
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1                                 FILER’S ATTESTATION
2          Pursuant to Local Rule 5-4.3.4 regarding signatures, I hereby attest that
3    concurrence in the filing of this document has been obtained from all signatories above.
4
5    Dated: November 18, 2024                 By: /s/ Kendall M. Loebbaka
                                                   Joseph R. Re
6                                                  Stephen C. Jensen
                                                   Sheila N. Swaroop
7                                                  Brian C. Horne
                                                   Brian C. Claassen
8                                                  Jared C. Bunker
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9                                                  Adam B. Powell
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10                                                 Daniel P. Hughes
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